CHS€ 2fOZ-Cr-20058-BBNITIEQEsmnrltEBJBIS=mB®P/GQUMP@\Qe 1 of 2 PagelD 632
for
wESTERN DISTRICT on TENNEsSnt_: mm By m

U.S.A. vs. Tova MMeH Docket No.:MLU_

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- sampson
coMEs Now Brenda L. Carpten, PRoBATIoN 0FFICER 0F THE count presenth nnMn upon
the conduct and attitude of Toya Maxwell_., who was placed on supervision by the Honorable Bernice B. Donald
sitting in the Court at Memp_his, TN, on the §Lh day of August, ._’Z_UZ, who fixed the period of supervision at m
131 years, and imposed the general terms and conditions theretofore adopted by the Court and also imposed Special
Conditions and terms as follows:

Petitioo on Probation and Supervised Release

 

l. The defendant will pay restitution in the amount of $1,5 00.00. (Balance $840.00)
RESPECTFULLY PRESEN'I`ING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

While Ms. Maxwell has basically responded well to supervision, there are some unresolved matters which Your
Honor should be made aware of. Ms. Maxwell has not completed payment of the Court ordered restitution in the
amount of $l ,500.00. She made fairly consistent payments to the best of her ability inthe amount of$S0.00 rnonthly,
totaling $660.00, leaving a balance of $840.00. Ms. Maxwell signed a Payment Agreement with the United States
Attorney’s OHiCe wherein she has agreed to pay $50.00 per month until her restitution balance is paid in lilll.

In addition, Ms. Maxwe]l was arrested on February 22, 2005, and charged with Aggravated Burglary. According
to the Aflidavit of Complaint, the defendant and her sister went to the residence of the defendant’s ex-boyii'iend,
Marcus Jones, and forced entry into the apartment The defendant took Mr. Jones keys, ring and necklace, valued
at $600.00. The defendant then left the apartment When the police arrived, they called the defendant and requested
she return Mr. Jones’ keys. When the defendant returned to the apartment with Mr. Jones’ keys, she was arrested
The defendant denies the facts as stated in the Af|idavit of Complaint. Mr. Jones stated that he plans to follow
through with the prosecution of Ms. Maxwell. The matter was Held to State on April 20, 2005. No court date has
been set at this time. Due to the domestic nature of the oil`ense as well as the disputed facts and the limited time
remaining under Federal supervision, it is recommended that no action be taken relative to revocation of supervision
lt is this officer’s opinion that the resolution of this matter in State Court, whatever sentence is ordered, will be
sufficient punishment for the defendant’s involvement in this offense

PRAYING THAT THE COURT WILL ORDER that Ms. Maxwell’s Probation terminate as scheduled on August
5, 2005 , with the understanding that the United States Attorney’s OEce will pursue collection of restitution, and that
no action be taken relative to re-arrest.

ORDER OF COURT

 

 

 

Respectfully,
Considered and order?.t-lns;_£_ day é_/W\*M . Q°"\p_t:°"’\'
, 267___, and ordered filed Brenda lh.’Carpten '
and e a part of the record ` the above U. S. Probation OMcer
case.
@/ HM Place: M@phis, Tennessee
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U ' ed states District wage l nare; Ju;lv ;a_z_oos

 

 

Thls document entered on the docket sheet in comp\lanca

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with Rule L.': ancl,'or 32(b) FHCrP on

 

STRIC COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 603 in
case 2:02-CR-20058 was distributed by faX, mail, or direct printing on
August l, 2005 to the parties listed.

 

 

Kemper B. Durand

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Honorable Bernice Donald
US DISTRICT COURT

